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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF LOUISIANA
                              LAFAYETTE-OPELOUSAS DIVISION


 STATE FARM FIRE &                                             CIVIL ACTION NO. 07-1285
  CASUALTY CO.

 VERSUS                                                        JUDGE MELANÇON

 PETER R. LAFURIA, ind.                                        MAGISTRATE JUDGE METHVIN
 SHARON LAFURIA, ind.
 PETER R. LAFURIA, M.D.,
 A PROFESSIONAL MED. CORP.

                                         JUDGMENT

         This matter was referred to United States Magistrate Judge Mildred E. Methvin for a

 Report and Recommendation. After an independent review of the record, the applicable

 jurisprudence, and the objections filed by the parties, this Court concludes that the Report and

 Recommendation of the magistrate judge is correct and this Court adopts the conclusions set

 forth therein.

         IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that defendants’

 motion to dismiss is GRANTED and plaintiff’s claims are DISMISSED WITHOUT

 PREJUDICE.

         Lafayette, Louisiana this 6th day of January, 2009.
